  USCA Case #22-1073              Document #2074466             Filed: 09/12/2024     Page 1 of 1
                        United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1073                                                     September Term, 2024
                                                                                EPA-87FR24300
                                                           Filed On: September 12, 2024
Sinclair Wyoming Refining Company LLC and
Sinclair Casper Refining Company LLC,

                   Petitioners

         v.

Environmental Protection Agency,

                   Respondent

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American Coalition for Ethanol, et al.,
                   Intervenors
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Consolidated with 22-1075, 22-1100, 22-1102,
22-1109, 22-1114, 22-1115, 22-1122,
22-1128, 22-1129, 22-1130, 22-1132,
22-1133, 22-1135, 22-1165, 22-1181,
22-1183, 22-1185, 22-1186, 22-1187,
22-1188, 22-1189, 22-1190, 22-1191,
22-1192, 22-1194, 22-1195, 22-1197,
22-1199, 22-1219, 22-1238, 22-1240, 22-1246


         BEFORE:           Pillard, Rao, and Pan, Circuit Judges

                                               ORDER

       Upon consideration of intervenor for respondent Growth Energy’s petition for panel
rehearing filed on September 9, 2024, it is

         ORDERED that the petition be denied.

                                              Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                       BY:    /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk
